

People v Wolfe (2020 NY Slip Op 07718)





People v Wolfe


2020 NY Slip Op 07718


Decided on December 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 22, 2020

Before: Friedman, J.P., Renwick, Singh, Kennedy, Shulman, JJ. 


Ind No. 0376/17 0376/17 Appeal No. 12700 Case No. 2019-1498 

[*1]The People of the State of New York, Respondent,
vCedric Wolfe, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Teighlor S. Bonner of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Claire E. Nielsen of counsel), for respondent.



Judgment, Supreme Court, New York County (Abraham L. Clott, J. at suppression hearing; Ann E. Scherzer, J. at plea and sentencing), rendered August 16, 2018, as amended September 17, 2018, convicting defendant of criminal possession of a controlled substance in the third degree and driving while intoxicated, and sentencing him, as a second felony drug offender previously convicted of a violent felony, to an aggregate term of six years and a $500 fine, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied __ US __, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]). The combination of the court's oral colloquy with defendant and the detailed written waiver sufficiently distinguished the right to appeal from the rights automatically forfeited by a guilty plea. To the extent there was any ambiguity in the oral colloquy, it was resolved by the written waiver. This waiver forecloses review of defendant's suppression and excessive sentence claims.
Regardless of whether defendant made a valid waiver of his right to appeal, we find that the record supports the hearing court's suppression rulings. We also perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 22, 2020








